 

__

Case 1:12-CV-00800-.]B-.]HR Document 223 Filed 07/11/18 Page 1 of 3

 

FOR THE DISTRICT OF NEW MEXICO
is mr c 1 en ;3: 23

PUEBLO OF JEMEZ, a federally § f_~>;< 15 ,~\. m .
§§ h

. . . *¢~¢:z ~Z' ;-» *ES?;{":§ "";
recognized Indian tribe, *Le~"\}‘~¢;¥} 3 i’».»."»,}f.

Plaintiff,
No. CV 12-800 JB/JHR

V.
UNITED STATES OF AMERICA,

Defendant,

and
NEW MEXICO GAS COMPANY,

Defendant-in Intervention.

STIPULATED ORDER AMENDING SCHEDULING ORDER

Having considered the Plaintiff and Defendant’s Joint Motion to Amend the Scheduling
Order and good cause being shown, the motion is hereby GRANTED.
IT IS SO ORDERED that the dates given in the April ll, 2017 (ECF 125) and February

15, 2018 (ECF 187) Scheduling Orders are modified as follows:

 

__¢

Case 1:12-cV-00800-.]B-.]HR Document 223 Filed 07/11/18 Page 2 of 3

 

 

 

 

 

 

 

 

 

Event Current Deadline Revised Deadline
Deadline for Jemez to supplement June 27, 2018 July 3, 2018
interrogatory responses
Last Day to Depose Experts June 29, 2018 (ECF 187) July 13, 2018
Pretrial / Dispositive Motions July 27, 2018 (ECF 187) August 17, 2018
Pre-trial order - Plaintiff to July 13, 2018 (ECF 125) Augmst 24, 2018
Defendants
Pre-trial order - Defendants to July 27 , 2018 (ECF No. September 7, 2018
Plaintiff 125)
Pre-trial conference August 24, 2018 (ECF 125) Week of September 10, 2018
Pre-trial conference September 28, 2018 (ECF September 28, 2018
125) (unchanged)
Witness Disclosure - “no September 28, 2018 (ECF September 28, 2018
Witnesses except rebuttal 125) (unchanged)

Witnesses Whose testimony
cannot be anticipated Will be
permitted to testify unless the
name of the Witness is furnished
to the Court and opposing counsel
no later than thirty (30) days prior
to the time set for trial.”

 

 

 

 

Trial October 29 through October 29 through
November 16, 2018 November 16, 2018
(unchanged)

 

 

IT IS SO ORDERED.

 

 

 

Case 1:12-cV-00800-.]B-.]HR Document 223

Agreed to and Submittea’ by:

/s/ Christina S. West

Christina S. West

Randolph H. Barnhouse

Barnhouse Keegan Solimon & West LLP
7424 4th Street NW

Los Ranchos de Albuquerque, NM 87107
(505) 842-6123 (telephone)

(505) 842-6124 (facsimile)
cwest@indiancountrylaw.com
Attorneysfor Plaintijj‘

Agreea’ to by.'

JEFFREY H. WOOD
Acting Assistant Attomey General

/s/Jacaaeline Leonara' via emaz`l 06/25/18
Peter Kryn Dykema

Matthew Marinelli

Jacqueline Leonard

United States Department of Justice
Environment & Natural Resources Division
Natural Resources Section

P.O. Box 7611

Washington, DC 20044-7611

Tel: (202) 305-0436

Tel: (202) 305-0293

Tel: (202) 305-0493

Fax: (202) 305-0506
Peter.dykema@usdoj .gov
Matthew.marinelli@usdo j . gov

J acqueline.Leonard@usdoj. gov
Counselfor Defena’ant United States

Filed 07/11/18

 

Page 3 of 3

